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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 IN RE CHICAGO BOARD OPTIONS                             MDL No. 2842
 EXCHANGE VOLATILITY INDEX                               Case No. 1:18-cv-04171
 MANIPULATION ANTITRUST                                  Honorable Manish S. Shah
 LITIGATION


                          NOTICE OF POSITION REGARDING
               MOTION OF PLAINTIFFS WILLIAM TAD BERGER, DALE CARY,
              AND DAVID SAMUEL TO MODIFY THE COURT’S AUGUST 16, 2018
                ORDER APPOINTING PLAINTIFFS’ LEADERSHIP COUNSEL


         On April 3, 2019, Plaintiffs William Tad Berger, Dale Cary, and David Samuel filed a

motion to modify the Court’s prior order appointing Kimberly Justice as co-lead counsel in this

matter. Those plaintiffs request that the Court substitute as co-lead counsel Sharan Nirmul of

Kessler Topaz Meltzer & Check, LLP for Ms. Justice, who has recently resigned from Kessler

Topaz.        Ms. Justice subsequently filed a response opposing the motion, and Kessler Topaz then

filed a reply brief. Co-lead counsel Jonathan Bunge and the team from Quinn Emanuel Urquhart

& Sullivan working on this case have reviewed the papers.        We suspect that the Court might be

interested in our view on this dispute and therefore provide the following:

         1.        We have worked closely with Ms. Justice as well as a number of other persons from

Kessler Topaz assigned to this case.       Among other things, lawyers from Quinn Emanuel and

Kessler Topaz worked as a team in drafting the Amended Complaint, briefing our opposition to

the motion to dismiss, and other projects.     We have spent a substantial amount of time working

with Ms. Justice and the Kessler attorneys since the lead counsel appointment in August 2018.

         2.        Ms. Justice and the other Kessler attorneys working on this case have done an

admirable job representing the plaintiffs.      We have found Ms. Justice and the other Kessler
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attorneys to be very capable and hardworking lawyers. The Kessler team has unique experience

and expertise in the subject matters of this cases – securities and market manipulation claims. We

have worked well with the Kessler team (as well as Ms. Justice) and have tried as a group to

represent the plaintiffs as efficiently and effectively as possible.

        3.      We believe that it is in the best interest of the class for the current Kessler team to

continue to work together on this matter.      There is a lot of background and expertise that the

current Kessler team has acquired during the last year.            The facts and the law here are

complex.     Particularly given the Court’s comments at the April 4, 2019 status conference, there

is a lot of work to be done in the near term.      We do not believe it is in the best interest of the

class to involve other attorneys at this time who have no background in this matter.

        4.      We think Ms. Justice should continue to act as co-lead counsel, but she should use

the Kessler support team in the same role they have served to date. That might be most feasibly

accomplished by appointing Mr. Nirmul, who has been actively involved in the case, as a third co-

lead.

        5.      Regardless of the Court’s resolution of this pending motion, Jonathan Bunge and

Quinn Emanuel will work cooperatively with any team the Court deems appropriate. We are

committed to this case and to providing the plaintiff class with the best possible representation.
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Dated: April 16, 2019                   By: /s/ Jonathan C. Bunge
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                                CERTIFICATE OF SERVICE

       I, Jonathan C. Bunge, hereby certify that on April 16, 2019, I caused a copy of the foregoing

to be filed electronically with the Clerk of the Court using the CM/ECF system. Notice of this

filing will be sent to all counsel of record via the Court’s CM/ECF automated filing system.



                                                 /s/ Jonathan C. Bunge
                                                 Jonathan C. Bunge
